      Case 4:23-cv-00066-Y Document 14 Filed 03/27/23                    Page 1 of 2 PageID 275



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 STATE OF TEXAS and
 STATE OF OKLAHOMA ,

                          Plaintiffs,
 v.

 EMANUEL McCRAY, on behalf of himself
 and all other similarly situated,

                          Intervenor Plaintiff,

 v.                                                       Civ. A. No. 4:23-cv-00066-Y

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                          Defendants.


                  DEFENDANTS’ MOTION TO DISMISS
   PLAINTIFFS’ COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

         Defendants move to dismiss Plaintiffs’ Complaint for Declaratory and Injunctive

Relief (Doc. 1) under Federal Rule of Civil Procedure 12(b)(1). As further detailed in the

accompanying brief in support of this motion, Plaintiffs’ complaint fails for threshold

reasons, including standing and ripeness, and should be dismissed for lack of subject

matter jurisdiction. Moreover, Plaintiffs fail to establish their entitlement to

extraordinary injunctive relief, as Plaintiffs are unlikely to succeed on the merits of their

claims and the balance of equities favors denying Plaintiffs’ request for injunctive relief.




Defendants’ Motion to Dismiss Plaintiffs’ Complaint for Declaratory and Injunctive Relief – Page 1
   Case 4:23-cv-00066-Y Document 14 Filed 03/27/23                       Page 2 of 2 PageID 276



Dated: March 27, 2023



                                                 Respectfully submitted,

                                                 LEIGHA SIMONTON
                                                 UNITED STATES ATTORNEY

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                                         Certificate of Service

        On March 27, 2023, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                 s/ Mary M. (Marti) Cherry
                                                 Mary M. (Marti) Cherry
                                                 Assistant United States Attorney




Defendants’ Motion to Dismiss Plaintiffs’ Complaint for Declaratory and Injunctive Relief – Page 2
